Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 1 of 7

AO 257 (Rev. 6/78)

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

By: L] compLaint [_] INFORMATION INDICTMENT

OFFENSE CHARGED L] suUPERSEDING

 

 

18 U.S.C. § 545 - Importing Wildlife Contrary to Law (Count [_] Petty
One); .
16 U.S.C. §§ 3372(d), 3373(d)(3)—Mislabeling Wildlife LC] Minor

Intended for Importation (Count Two). Mise
L] meanor

Felony

Count One: 20 years’ imprisonment; $250,000 fine; three years of
supervised release; $100 special assessment; restitution; forfeiture.
Count Two: 5 years’ imprisonment; $250,000 fine; three years of
supervised release; $100 special assessment; restitution; forfeiture.

7

PENALTY:

PROCEEDING
Name of Complaintant Agency, or Person (& Title, if any)

United States Fish and Wildlife Service

 

person is awaiting trial in another Federal or State Court,
L give name of court

 

this person/proceeding is transferred from another district
L per (circle one) FRCrp 20, 21, or 40. Show District

 

this is a reprosecution of
g charges previously dismissed

which were dismissed on motion SHOW

ae DOCKET NO
LE] U.S. ATTORNEY LC] DEFENSE \

this prosecution relates to a
C] pending case involving this same

 

 

 

defendant MAGISTRATE
CASE NO.
prior proceedings or appearance(s)
before U.S. Magistrate regarding this \
defendant were recorded under Ao
Name and Office of Person
Furnishing Information on this form ALEX G. TSE

 

U.S. Attorney [] Other U.S. Agency

Name of Assistant U.S.

Attorney (if assigned) Katherine M. Lloyd-Lovett

 

 

PROCESS:
SUMMONS [_] NOPROCESS* [ ] WARRANT

If Summons, complete following:
Arraignment Initial Appearance

Defendant Address:

 

Comments:

Name of District Court, and/or Judge/Magistrate Location

NORTHERN DISTRICT OF CALIF YA E D

OAKLAND DIVISION

 

JAN 14 2018

 

(— DEFENDANT -U.S

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} ADAM THATCHER LAWRENCE cihx US. OsTACr ART

NORTHERN STRICT OF CALIF
OAKLAND =

HSG

DISTRICT COURT NUMBER
18-Q014
ae

DEFENDANT

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) [X] If not detained give date any prior
summons was served on above charges

 

2) [] Is a Fugitive

3) [_] Is on Bail or Release from (show District)

 

IS INCUSTODY
4) [|] On this charge

5) [_] On another conviction

} [_] Federal [_] State

6) [J Awaiting trial on other charges

If answer to (6) is "Yes", show name of institution

lf "Yes"

\ give date
filed

Month/Day/Year

 

Has detainer L_] Yes
been filed? O No

DATE OF >
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

ADDITIONAL INFORMATION OR COMMENTS

Date/Time: 1/18/2018, 9:30 a.m.

 

 

[_] This report amends AO 257 previously submitted

 

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge: Ryu

Judge Ryu’s courtroom is on the 3rd floor of the courthouse; Federal Public Defender is in the North Tower.

 
Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 2 of 7

United States District Court

FOR THE
NORTHERN DISTRICT OF CALIFORNIA

 

VENUE: | Oakland

 

 

UNITED STATES OF AMERICA, Fl L. E D

v. JAN 112018 LU

ADAM THATCHER LAWRENCE, SUSAN Y. SOONG

CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND

CR18~0014 Hse

DEFENDANT.

 

 

INDICTMENT

 

 

 

18 U.S.C. § 545 - Importing Wildlife Contrary to Law (Count
One); 16 U.S.C. §§ 3372(d), 3373(d)(3) - Mislabeling Wildlife
Intended for Importation; 18 U.S.C. §§ 545, 924(d), and 982(a)(2)
(B), 16 U.S.C. § 3374, and 28 U.S.C. § 2461(c) - Forfeiture
Allegations

 

A true bill. in

Foreman

Ais Pp

Filed in open court this ///1l day of ‘QW / J

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Clerk

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Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 3 of 7

ALEX G. TSE (CABN 152348)

FILED

JAN 11.2018 = /——

SUSAN Y. SOONG

 

 

 

Acting United States Attorney CLERK U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION rs
UNITED STATES OF AMERICA, ) CASE NO. C R 1 8 ™ 0 Ol A
) “° _
Plaintiff, ) VIOLATIONS: 18 U.S.C. § 545 — Importing Wildlife
) Contrary to Law; 16 U.S.C. §§ 3372(d), 3373(d)(3) —
Ve Mislabeling Wildlife Intended for Importation; 18
ULS.C. §§ 545, 924(d), and 982(a)(2)(B), 16 U.S.C.
606M THATCHER. LawRBSCE, § 3374, and 28 U.S.C. § 2461(c)) — Forfeiture
Defendant. ) Allegations
)
) OAKLAND VENUE
INDICTMENT
The Grand Jury charges:

INTRODUCTORY ALLEGATIONS

At all times relevant to the Indictment, unless otherwise indicated:

1. The Convention on International Trade in Endangered Species of Wild Fauna and Flora

(CITES) was an international agreement among governments, including the United States, the Republic

of South Africa, and the Republic of Mozambique. The purpose of CITES was to ensure that

international trade in specimens of wild animals and plants did not threaten their survival.

INDICTMENT

 
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Case 4:18-cr-00014-HSG Document 1 Filed 01/11/18 Page 4 of 7

2. Each animal and plant species covered by CITES was listed on one of three appendices
according to the degree of protection afforded to that specimen.

3. Appendix I of CITES included the most protected species of animals and plants and
required the most stringent trade restrictions as to those species. Leopards (Panthera pardus) were
classified as an Appendix I species.

4. CITES generally prohibited the importation of species listed in Appendix I without a
valid CITES import permit from the country into which the species was being imported and without a
valid CITES export permit or certificate of re-exportation from the country from which the species was
being exported.

5. CITES also imposed a yearly quota on the number of leopards which could be exported
from South Africa and Mozambique.

6, The Endangered Species Act prohibited trade in any specimens contrary to the provisions
of CITES.

7. The Lacey Act prohibited the making or submitting of any false label or record for

wildlife that was intended for import into the United States.

8. In or about August 2011, defendant ADAM THATCHER LAWRENCE traveled to South
Africa and hunted and killed a leopard in that country. Defendant ADAM THATCHER LAWRENCE
did not personally possess a permit to kill the leopard in South Africa nor did he possess a CITES permit
to export the leopard from South Africa.

9. In or about May 2012, defendant ADAM THATCHER LAWRENCE secretly transported
the leopard skin and skull into Mozambique. Defendant ADAM THATCHER LAWRENCE thereafter
falsely claimed that he had hunted and killed the leopard in Mozambique in 2012.

10. Defendant ADAM THATCHER LAWRENCE acquired a CITES export permit for the
leopard parts from Mozambique, a CITES import permit for the leopard parts from South Africa, a
CITES re-export certificate for the leopard parts from South Africa, and a CITES import permit for the
leopard parts from the United States. Each document falsely stated that the leopard was killed in

Mozambique in 2012.

INDICTMENT 2

 
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Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 5 of 7

11. Inor about April 2013, defendant ADAM THATCHER LAWRENCE imported the
leopard skin and skull into the United States.

12. These Introductory Allegations are hereby re-alleged and incorporated by reference into
each and every count of this Indictment. |
COUNT ONE: (18 U.S.C. § 545; 18 U.S.C. § 2(b) — Importing Wildlife Contrary to Law)

On or about April 13, 2013, in the Northern District of California, the defendant,

ADAM THATCHER LAWRENCE,

did knowingly and fraudulently import and bring, and willfully cause to be imported and brought, into
the United States certain merchandise, that is, the skin and skull of a leopard (Panthera pardus),
contrary to law, by importing that merchandise into the United States using a permit containing false and
fraudulent information, in violation of the Endangered Species Act, Title 16, United States Code,
Sections 1538(c) and 1540(b)(1), and the Convention on International Trade in Endangered Species of
Wild Fauna and Flora, Title 50, Code of Federal Regulations, Section 23.13(a), all in violation of Title
18, United States Code, Section 545.

COUNT TWO: (16 U.S.C. §§ 3372(d)(1), 3373(d)(3)(A)G); 18 U.S.C. § 2(b) — Mislabeling
Wildlife Intended for Importation)
On or about April 26, 2013, in the Northern District of California, the defendant,
ADAM THATCHER LAWRENCE,
did knowingly make and submit, and willfully cause to be made and submitted, a false record, account,
and label for wildlife, that is, the skin and skull of a leopard (Panthera pardus), in that the defendant
falsely represented that said wildlife had been killed in Mozambique in 2012 when in truth, as the
defendant then knew, said wildlife had been killed in South Africa in 2011, said wildlife having been
imported into the United States, all in violation of Title 16, United States Code, Sections 3372(d)(1) and

3373(d)(3)(A)(i).

INDICTMENT 3

 
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Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 6 of 7

FORFEITURE ALLEGATIONS: (18 U.S.C. §§ 545, 924(d), and 982(a)(2)(B); 16 U.S.C. § 3374; and
| 28 U.S.C. § 2461(c))
1. The factual allegations contained in the Introductory Allegations and in Counts One and
Two of this Indictment are realleged and by this reference fully incorporated herein for the purpose of
alleging forfeiture pursuant to the provisions of 18 U.S.C. §§ 545, 924(d), and 982(a)(2)(B); 16 U.S.C.
§ 3374; and 28 U.S.C. § 2461(c).
2. _Upona conviction for the offense alleged in Count One, the defendant,
ADAM THATCHER LAWRENCE,
shall forfeit to the United States, (1) pursuant to 18 U.S.C. § 545, any merchandise introduced into the
United States in violation of 18 U.S.C. § 545, or the value thereof, including but not limited to one
leopard (Panthera pardus) skin and skull seized from the defendant’s house on or about October 27,
2016; (2) pursuant to 18 U.S.C. § 982(a)(2)(B), any property constituting, or derived from, proceeds the
defendant obtained directly or indirectly, as a result of the violation; and (3) pursuant to IS USC.
§ 924(d)(1) and 28 U.S.C. § 2461(c), any firearm or ammunition involved in or used in the violation.
3. Upon a conviction for the offense alleged in Count Two, the defendant,
ADAM THATCHER LAWRENCE,
shall forfeit to the United States, pursuant to 16 U.S.C. § 3374(a), all wildlife imported, exported,
transported, sold, received, acquired, or purchased contrary to the provisions of 16 U.S.C. § 3372, and
all vessels, vehicles, aircraft, and other equipment used to aid in the importing, exporting, transporting,
selling, receiving, acquiring, or purchasing of wildlife in violation of 16 U.S.C. § 3372.
4. If any of the property described above, as a result of any act or omission of the defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the court;
(d) has been substantially diminished in value; or
(e) | has been commingled with other property which cannot be divided without

difficulty,

INDICTMENT 4

 
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Case 4:18-cr-00014-HSG Document1 Filed 01/11/18 Page 7 of 7

any and all interest defendant has in any other property (not to exceed the value of the above forfeitable
property) shall be forfeited to the United States of America pursuant to 21 U.S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c)

All pursuant to 18 U.S.C. §§ 545, 924(d), and 982(a)(2)(B); 16 U.S.C. § 3374; 28 U.S.C.
§ 2461(c); and Rule 32.2 of the F ederal Rules of Criminal Procedure.

 

DATED: A TRUE BILL.
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iF ned.
FOREPERSON
ALEX G. TSE

Acting United States Attorney

a SSS

DANIEL KALEBA U
Deputy Chief, Criminal Division

(Approved as to form: tex I ~H Lo )

AUS$A KATHERINE LLOYD-LOVETT

 

INDICTMENT 5

 
